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     JAIME SALAS
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8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. F 06-271 AWI
12                             Plaintiff,                STIPULATED MOTION AND ORDER TO
                                                         REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)
14   JAIME SALAS,                                        RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
15                             Defendant.
                                                         Judge: Honorable ANTHONY W. ISHII
16
17             Defendant, JAIME SALAS, by and through his attorney, Assistant Federal Defender
18   David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel,
19   Assistant U.S. Attorney Kathleen A. Servatius, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On January 22, 2008, this Court sentenced Mr. Salas to a term of 135 months

25   imprisonment. This term reflected a 31 percent reduction of the defendant’s recommended 195-

26   month sentence upon the government’s motion. To effectuate that reduction, the Court attributed

27   a term of 75 months to Count One and a term of 60 months to Count Three, to run consecutively

28   to each other, for a total term of 135 months;

     Stipulation and Order Re: Sentence Reduction         1
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1              3.         Mr. Salas’s total offense level as to Count One was 33, his criminal history
2    category was I, and the resulting guideline range was 135 to 168 months. Mr. Salas’s guideline
3    sentence as to Count Three was 60 months;
4              4.         The sentencing range as to Count One applicable to Mr. Salas was subsequently
5    lowered by the United States Sentencing Commission in Amendment 782, made retroactive on
6    July 18, 2014, see 79 Fed. Reg. 44,973, with an effective date of any such reduction as of
7    November 1, 2015;
8              5.         Mr. Salas’s total offense level as to Count One has been reduced from 33 to 31,
9    and his amended guideline range is 108 to 135 months on Count One, plus 60 months on Count
10   Three, for a total amended term of 168 months, and a reduction comparable to the one received
11   at the initial sentencing would produce a total term of 116 months; and,
12             6.         Accordingly, the parties request the Court enter the order lodged herewith
13   reducing Mr. Salas’s term of imprisonment to a term of 56 months on Count One, and 60 months
14   on Count Three, to run consecutively to each other, for a total term of 116 months.
15   Respectfully submitted,
16   Dated: December 12, 2014                           Dated: December 12, 2014
17   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
18
19   /s/ Kathleen A. Servatius                          /s/ David M. Porter
     KATHLEEN A. SERVATIUS                              DAVID M. PORTER
20   Assistant U.S. Attorney                            Assistant Federal Defender
21   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           JAIME SALAS
22
23                                                     ORDER
24             This matter came before the Court on the stipulated motion of the defendant for reduction
25   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
26             The parties agree, and the Court finds, that Mr. Salas is entitled to the benefit
27   Amendment 782, which reduces the total offense level for Count One from 33 to 31, resulting in
28   an amended guideline range of 108 to 135 months for that count.

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1              IT IS HEREBY ORDERED that the term of imprisonment imposed in January 2008 is
2    reduced to a term of 56 months on Count One, and 60 months on Count Three, to run
3    consecutively to each other, for a total term of 116 months, effective November 1, 2015.
4              IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
5    remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
6    reduction in sentence, an effective date of the amended judgment as November 1, 2015, and shall
7    serve certified copies of the amended judgment on the United States Bureau of Prisons and the
8    United States Probation Office.
9              Unless otherwise ordered, Mr. Salas shall report to the United States Probation Office
10   within seventy-two hours after his release.
11
     IT IS SO ORDERED.
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     Dated:       December 15, 2014
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                                                    SENIOR DISTRICT JUDGE
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     Stipulation and Order Re: Sentence Reduction      3
